Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 1 of 36 PagelD #:12056

UNITED STATES DISTRICT COURT JUN 11 aqo5
NORTHERN DISTRICT OF ILLINOIS “dge

EASTERN DIVISION United States Dion Coleman

UNITED STATES OF AMERICA
No. 09 CR 383-22

. Judge Sharon Johnson Coleman
OVIDIO GUZMAN LOPEZ
PLEA AGREEMENT
1. This Plea Agreement between the United States Attorney for the
Northern District of Illinois, ANDREW 8. BOUTROS, the United States Attorney for
the Southern District of California, ADAM GORDON, the Narcotic and Dangerous
Drug Section of the Criminal Division, United States Department of Justice,
defendant OVIDIO GUZMAN LOPEZ, and his attorney, JEFFREY LICHTMAN, is
made pursuant to Rule 11 of the Federal Rules of Criminal Procedure and is governed
in part by Rule 11(c)(1)(A), as more fully set forth below. The parties to this
Agreement have agreed upon the following:
Charges in This Case
2. The Twelfth Superseding Indictment in case number 09 CR 383-22 (“the
Twelfth Superseding Indictment”) charges defendant with conspiracy to possess with
intent to distribute and distribute a controlled substance, in violation of Title 21,
United States Code, Section 846 (Count One), engaging in a continuing criminal
enterprise, in violation of Title 21, United States Code, Sections 848(a), (b), and

(e)(1)(A) (Count Two), conspiracy to import a controlled substance into the United

States, and to manufacture and distribute a controlled substance intending and
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 2 of 36 PagelD #:12057

knowing it would be unlawfully imported into the United States, in violation of Title
21, United States Code, Section 963 (Count Three), money laundering conspiracy, in
violation of Title 18, United States Code, Section 1956(h) (Count Five), and using and
carrying a firearm during and in relation to a drug trafficking crime, in violation of
Title 18, United State Code, Section 924(c) (Count Nine).

3. The Indictment transferred pursuant to Fed. R. Crim. P. 20, and set
forth in this matter at docket entry 1071 (“the SDNY Indictment”), charges defendant
with engaging in a continuing criminal enterprise, in violation of Title 21, United
States Code, Sections 848(a), (b), and (c) (Count One), conspiracy to import a
controlled substance into the United States, and to manufacture and distribute a
controlled substance intending, knowing, and having reasonable cause to believe it
would be unlawfully imported into the United States, in violation of Title 21, United
States Code, Section 963 (Count Two), conspiracy to possess with intent to distribute
and distribute a controlled substance, in violation of Title 21, United States Code,
Section 846 (Count Three), using and carrying a firearm during and in relation to,
and possessing a firearm in furtherance of, a drug trafficking crime, in violation of
Title 18, United State Code, Section 924(c) (Count Four), conspiracy to possess
machine guns and destructive devices in furtherance of a drug trafficking crime, in
violation of Title 18, United States Code, Section 924(0) (Count Five), and money
laundering conspiracy, in violation of Title 18, United States Code, Section 1956(h)

(Count Six).
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 3 of 36 PagelD #:12058

4, Defendant has read the charges against him contained in the Twelfth
Superseding Indictment and the SDNY Indictment, and those charges have been fully
explained to him by his attorney.

5. Defendant fully understands the nature and elements of the crimes with
which he has been charged.

Charges to Which Defendant Is Pleading Guilty

6. By this Plea Agreement, defendant agrees to enter a voluntary plea of
guilty to the following counts of the Twelfth Superseding Indictment: Count One,
which charges defendant with conspiracy to knowingly and intentionally possess with
intent to distribute and distribute a controlled substance, in violation of Title 21,
United States Code, Section 846; and Count Two, which charges defendant with
knowingly and intentionally engaging in a continuing criminal enterprise, in
violation of Title 21, United States Code, Sections 848(a), (b), and (e)(1)(A).

7, In addition, by this Plea Agreement, defendant agrees to enter a
voluntary plea of guilty to the following counts of the SDNY Indictment: Count One,
which charges defendant with knowingly and intentionally engaging in a continuing
criminal enterprise, in violation of Title 21, United States Code, Sections 848(a), (b),
and (c); and Count Two, which charges defendant with conspiracy to import a
controlled substance into the United States, and to manufacture and distribute a

controlled substance intending, knowing, and having reasonable cause to believe it
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 4 of 36 PagelD #:12059

would be unlawfully imported into the United States, in violation of Title 21, United
States Code, Section 963.
Factual Basis

8. Defendant will plead guilty because he is in fact guilty of the charges
contained in Counts One and Two of the Twelfth Superseding Indictment, and of the
charges contained in Counts One and Two of the SDNY Indictment. In pleading
guilty, defendant admits the following facts and that those facts establish his guilt
beyond a reasonable doubt, constitute relevant conduct pursuant to Guideline
§ 1B1.3, and establish a basis for forfeiture of the property described elsewhere in
this Plea Agreement:

a. With Respect to Count One of the Twelfth Superseding
Indictment (09 CR 383-22)

Beginning no later than in or about May 2008, and continuing until at least on
or about October 21, 2021, at Chicago, in the Northern District of Illinois, Eastern
Division, and elsewhere, defendant OVIDIO GUZMAN LOPEZ did conspire with Ivan
Archivaldo Guzman Salazar, Jesus Alfredo Guzman Salazar, Joaquin Guzman Lopez,
Joaquin Guzman Loera, Ismael Zambada Garcia, Damaso Lopez Nunez, and with
others known and unknown, to knowingly and intentionally possess with intent to
distribute and distribute a controlled substance, namely, 5 kilograms or more of a
mixture and substance containing a detectable amount of cocaine, a Schedule II
Controlled Substance, 1 kilogram or more of a mixture and substance containing a

detectable amount of heroin, a Schedule I Controlled Substance, 500 grams or more

4
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 5 of 36 PagelD #:12060

of a mixture and substance containing a detectable amount of methamphetamine, a
Schedule II Controlled Substance, and 1,000 kilograms or more of a mixture and
substance containing a detectable amount of marijuana, a Schedule I Controlled
Substance, in violation of Title 21, United States Code, Section 841(a)(1), in violation
of Title 21, United States Code, Section 846.

More specifically, as of May 2008, Joaquin Guzman Loera (“Chapo”) and
Ismael Zambada Garcia (“Mayo”) were the co-leaders of a transnational drug
trafficking organization based in Mexico known as the “Sinaloa Cartel.” Under the
leadership of Guzman Loera and Zambada Garcia, the Sinaloa Cartel operated as an
affiliation of drug traffickers and money launderers located in multiple countries
throughout the world who coordinated and pooled their collective resources in order
to: (1) transport drugs from countries of supply in Central and South America to
Mexico; (2) transport drugs through Mexico and into the United States; (3) distribute
drugs to wholesale customers in the United States; and (4) collect, launder, and
transfer the proceeds of drug trafficking.

Guzman Loera and Zambada Garcia, and members and associates of the
Sinaloa Cartel under them, including four of Guzman Loera’s sons—GUZMAN
LOPEZ, Ivan Archivaldo Guzman Salazar, Jesus Alfredo Guzman Salazar, and
Joaquin Guzman Lopez (collectively, “Los Chapitos”)—coordinated their drug
trafficking activities to import and manufacture large quantities of cocaine, heroin,

methamphetamine, and marijuana, including from Central and South American
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 6 of 36 PagelD #:12061

countries. GUZMAN LOPEZ and others coordinated the transportation and storage
of these drug loads within Mexico, and they further coordinated their drug trafficking
activities to smuggle large quantities of cocaine, heroin, methamphetamine, and
marijuana, from Mexico across the United States border, and then into and
throughout the United States, including Chicago, Illinois, and elsewhere.

GUZMAN LOPEZ acted as a logistical coordinator who, on behalf of Guzman
Loera and the Sinaloa Cartel’s members and associates, caused multi-kilogram
quantities of cocaine, heroin, methamphetamine, and marijuana to be transported
from Mexico to the United States border, and then into and throughout the United
States for distribution. GUZMAN LOPEZ further caused drug proceeds to be collected
from customers in the United States and laundered and transferred from the United
States to Mexico and elsewhere for the benefit of the Sinaloa Cartel’s members and
associates. GUZMAN LOPEZ and others pooled their collective resources and
coordinated their activities to cause large quantities of cocaine and other drugs and
drug precursor chemicals to be imported from Central and South American countries,
including Colombia, Ecuador, Venezuela, Peru, Panama, Costa Rica, Honduras, and
Guatemala, and from elsewhere, to Mexico, using various means, including cargo
aircraft, private aircraft, submarines and other submersible and semi-submersible
vessels, container ships, supply vessels, go-fast boats, fishing vessels, buses, rail cars,
tractor trailers, automobiles, and private and commercial interstate and foreign

carriers. After the drugs and drug precursor chemicals arrived in Mexico, the
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 7 of 36 PagelD #:12062

conspirators used shared resources to unload and store the drugs in Mexico.

GUZMAN LOPEZ used shared networks of couriers affiliated with the Sinaloa
Cartel, and coordinated their activities to cause large quantities of cocaine, heroin,
methamphetamine, and marijuana, at times in shipments of hundreds or thousands
of kilograms, to be transported from various locations in Mexico to the United States
border where the drugs were then stored in multiple warehouses, stash houses, and
safe houses located in the areas of Tijuana, Mexicali, and elsewhere.

GUZMAN LOPEZ and others used shared networks of couriers affiliated with
the Sinaloa Cartel, and coordinated their activities to cause drugs to be smuggled
across the United States-Mexico border using multiple means, including through the
use of vehicles, rail cars, and tunnels.

GUZMAN LOPEZ and others used shared networks of couriers and stash
house operators affiliated with the Sinaloa Cartel, and coordinated their activities to
cause drugs to be unloaded and stored at multiple stash house, safe house, and
warehouse locations in Southern California and elsewhere.

GUZMAN LOPEZ and others used shared networks of couriers affiliated with
the Sinaloa Cartel to cause cocaine, heroin, methamphetamine, and marijuana to be
transported throughout the United States, including to Chicago, Illinois, using
various means, including cars, trucks, rail cars, and private and commercial
interstate carriers. Members of the conspiracy directed the drugs to be stored in

various stash houses and warehouses and then provided and distributed to additional
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 8 of 36 PagelD #:12063

members and associates of the Sinaloa Cartel, as well to wholesale customers, on
consignment, without requiring payment at the time of delivery, in multiple locations.

Cocaine, heroin, methamphetamine, and marijuana caused to be distributed
by GUZMAN LOPEZ and others was further sold and distributed to additional
wholesale customers in the greater Chicago, Illinois, area, and elsewhere in the
United States and Canada.

GUZMAN LOPEZ and others used shared networks of money couriers and
money launderers to cause drug proceeds to be collected from customers, counted,
packaged, and transferred and laundered from the United States to Mexico,
Colombia, and elsewhere using multiple means, including bulk cash smuggling,
structured bank deposits, wire transfers, currency exchange transfers, alternative
credit-based systems used to transfer money without the use of wires or other
traditional means, goods-based systems in which items, including cars, helicopters,
and airplanes, were purchased in one location and transferred to another location,
and other methods.

GUZMAN LOPEZ and others used, and caused to be used, various means to
evade and escape law enforcement and military personnel—including on or about
October 17, 2019, at Culiacdn in Sinaloa—and to protect their drug distribution
activities, including: obtaining guns and other weapons; bribing corrupt public
officials; and inciting violence, engaging in violence, and threatening violence,

including murder, kidnapping, assault, and battery, including against law
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 9 of 36 PagelD #:12064

enforcement, rival drug traffickers, and members of their own drug trafficking
organization.

Following Guzman Loera’s arrest in 2016 and extradition in 2017, GUZMAN
LOPEZ and his brothers assumed their father’s former role as leaders of the Sinaloa
Cartel, along with Zambada Garcia and Damaso Lopez Nunez. Eventually, GUZMAN
LOPEZ, his brothers, and others amassed greater control over the Sinaloa Cartel by
threatening to cause violence, and causing violence, against Damaso Lopez Nunez
and his family and associates.

b. With Respect to Count Two of the Twelfth Superseding
Indictment (09 CR 383-22)

Beginning no later than in or about May 2008, and continuing until at least on
or about October 21, 2021, at Chicago, in the Northern District of Illinois, Eastern
Division, and elsewhere, defendant OVIDIO GUZMAN LOPEZ, together with Ivan
Archivaldo Guzman Salazar, Jesus Alfredo Guzman Salazar, Joaquin Guzman Lopez,
and others, did knowingly and intentionally engage in a continuing criminal
enterprise, in that GUZMAN LOPEZ committed violations of Title 21, United States
Code, Sections 841(a), 848(e), 952(a), 959(a), 960, and 963, which violations were part
of a continuing series of violations of those statutes undertaken by GUZMAN LOPEZ,
in concert with five or more other persons, with respect to whom GUZMAN LOPEZ
occupied a supervisory and management position, and was one of several principal
administrators, organizers, and leaders of the continuing criminal enterprise, and
from which continuing series of violations GUZMAN LOPEZ obtained substantial

9
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 10 of 36 PagelD #:12065

income and resources, and which continuing criminal enterprise received in excess of
$10 million in gross receipts during one or more twelve-month period for the -
manufacture, importation, and distribution of heroin, cocaine, methamphetamine,
and marijuana. The violations involved at least 300 times the quantity of a substance
described in Section 841(b)(1)(B) of Title 21, United States Code, namely, 30
kilograms or more of a mixture and substance containing a detectable amount of
heroin, 150 kilograms or more of a mixture and substance containing a detectable
amount of cocaine, 15 kilograms or more of a mixture and substance containing a
detectable amount of methamphetamine, and 30,000 kilograms or more of a mixture
and substance containing a detectable amount of marijuana. All in violation of Title
21, United States Code, Sections 848(a), 848(b), and 848(e)(1)(A).

Specifically, beginning no later than 2012, and continuing until January 5,
2023, GUZMAN LOPEZ worked with his father, Joaquin Guzman Loera, his
brothers—Ivan Archivaldo Guzman Salazar, Jesus Alfredo Guzman Salazar, and
Joaquin Guzman Lopez—and others, to engage in a continuing criminal enterprise,
namely, the Sinaloa Cartel. GUZMAN LOPEZ, his father, his brothers, and others
worked together to source and manufacture narcotics—including heroin, cocaine,
methamphetamine, and marijuana—transport the narcotics through Mexico, and
cross the narcotics over the border into the United States for distribution. In the
course of this work, GUZMAN LOPEZ served as a supervisor and manager within

the Sinaloa Cartel, as well as one of several principal administrators, organizers, and

10
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 11 of 36 PagelD #:12066

leaders. Among other things, GUZMAN LOPEZ employed and ultimately managed
numerous individuals who assisted in manufacturing, transporting, storing, and
distributing narcotics, as well as numerous individuals who served as armed security
for GUZMAN LOPEZ and other members of the Sinaloa Cartel.

GUZMAN LOPEZ and his associates engaged in the continuing criminal
enterprise by means of, among other things, a continuing series of violations of Title
21, United States Code, Sections 841(a), 848(e), 952(a), 959(a), 960, and 963,
including as described below.

As alleged in Violations Seven and Eight of the Twelfth Superseding
Indictment, in or about 2013, GUZMAN LOPEZ, his father, his brothers, and others
imported cocaine into the United States. The cocaine crossed over the border through
a tunnel that ran between Nogales, Sonora in Mexico, and Nogales, Arizona, in the
United States. GUZMAN LOPEZ possessed portions of this cocaine within the
District of Arizona intending that it be further distributed.

As alleged in Violation Ten of the Twelfth Superseding Indictment, in or about
January 2014, GUZMAN LOPEZ invested, along with others, in an approximately
forty-ton shipment of marijuana that was transported to Hermosillo, Sonora, Mexico,
with the intent that it be imported into and distributed within the United States.
GUZMAN LOPEZ and others intended to transport the marijuana from Sonora to
Tijuana, Mexico, and to transport the marijuana into the United States using an

underground tunnel that GUZMAN LOPEZ’s workers had constructed. However,

11
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 12 of 36 PagelD #:12067

before the marijuana was transported to Tijuana, approximately twenty tons of
marijuana were seized by law enforcement in or around Hermosillo. Of the remaining
approximately twenty tons, approximately three to four tons were transported to and
sold in or around Los Angeles, California.

As alleged in Violation Thirty-Four of the Twelfth Superseding Indictment, in
or about December 2018, GUZMAN LOPEZ and others caused the kidnapping and
murder of Jesus Antonio Munoz Parra, also known as “Montana,” in Sinaloa, Mexico.

As alleged in Violation Thirty-Five of the Twelfth Superseding Indictment, in
or about May 2021, GUZMAN LOPEZ and others caused the murder of Mario
Nungaray Bobadilla, also known as “Liebre,” in Phoenix, Arizona.

As alleged in Violation Thirty-Six of the Twelfth Superseding Indictment, in or
about October 2021, GUZMAN LOPEZ and others caused the kidnapping and murder
of Geovanni Hurtado Vicente, also known as “Amigo,” in Jalisco and Sonora, Mexico.

GUZMAN LOPEZ acknowledges that the continuing criminal enterprise in
which he engaged involved more than 90 kilograms of heroin, 450 kilograms of
cocaine, 45 kilograms of methamphetamine, and 90,000 kilograms of marijuana, for
which he is accountable. GUZMAN LOPEZ further acknowledges he engaged in the
continuing criminal enterprise in concert with more than five other individuals, and
that the enterprise received more than $10 million in gross receipts during a twelve-
month period. GUZMAN LOPEZ further acknowledges that GUZMAN LOPEZ

caused bribes to be paid to law enforcement officers in Mexico to facilitate the

12
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 13 of 36 PagelD #:12068

commission of the offense. GUZMAN LOPEZ further acknowledges that he
maintained laboratories in Mexico used to produce methamphetamine, and that he
maintained offices in Mexico and the United States that he used to store and
distribute narcotics.
c. With Respect to Count One of the SDNY Indictment

From at least in or about 2014, up to and including on or about January 25,
2023, in the Southern District of New York, Mexico, and elsewhere, and in an offense
begun and committed out of the jurisdiction of any particular State or district,
defendant OVIDIO GUZMAN LOPEZ, a/k/a “Raton,” and others known and
unknown, engaged in a continuing criminal enterprise (the “Continuing Criminal
Enterprise”), in that GUZMAN LOPEZ knowingly and intentionally participated in
a continuing series of violations of Title 21, United States Code, Chapter 13,
Subchapters I and II, including, among others, the fentanyl importation conspiracy
charged in Count Two of the SDNY Indictment and the fentanyl trafficking
conspiracy charged in Count Three of the SDNY Indictment, and other violations of
Title 21, United States Code, Sections 841(a), 846, 848(e), 952(a), 959(a), 960, and
963, which violations were undertaken by GUZMAN LOPEZ in concert with five and
more persons with respect to whom GUZMAN LOPEZ was one of several principal
administrators, organizers, and leaders of the Continuing Criminal Enterprise, and
where the violations involved at least 300 times the quantity of mixtures and

substances containing a detectable amount of fentanyl described in Title 21, United

13
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 14 of 36 PagelD #:12069

States Code, Section 841(b)(1)(B), and resulted in the Continuing Criminal
Enterprise receiving $10 million and more in gross receipts during a 12-month period
of its existence for the manufacture, importation, and distribution of fentanyl, in
violation of Title 21, United States Code, Sections 848(a), 848(b), and 848(c). More
specifically, GUZMAN LOPEZ and others engaged in the CCE through a series of
violations of Title 21, United States Code, Chapter 13, Subchapters I and II, including
but not limited to those set forth below.

As described above in Paragraphs 8(a) and (b), the factual statements of which
are also incorporated into GUZMAN LOPEZ’s plea to Count One of the SDNY
Indictment, GUZMAN LOPEZ was one of the leaders of the Sinaloa Cartel. Starting
in at least approximately 2014, GUZMAN LOPEZ and his brothers led the Sinaloa
Cartel, including its fentanyl trafficking operation. Among other things, GUZMAN
LOPEZ employed individuals who oversaw the manufacturing and distribution in
Mexico, and the importation from Mexico into the United States for distribution, of
thousands of kilograms of fentanyl powder and hundreds of thousands of fentanyl
pills. The fentanyl powder and pills were smuggled into the United States by the
Sinaloa Cartel’s couriers, using vehicles and tunnels that went from Mexico into the
United States.

In addition to overseeing the Sinaloa Cartel’s drug-trafficking operation,
GUZMAN LOPEZ also participated, personally and with others, in the Sinaloa

Cartel’s fentanyl trafficking. For example, from at least in or about 2018, through at

14
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 15 of 36 PagelD #:12070

least in or about 2020, GUZMAN LOPEZ knowingly and intentionally manufactured
and distributed, and possessed with intent to distribute, significant quantities of
fentanyl pills and powder which, at GUZMAN LOPEZ’s direction, were imported into
the United States and also within Mexico knowing that such fentanyl was reasonably
likely to be imported to the United States. As another example, in or about 2020,
operating out of a compound in or around Culiacan, Mexico, maintained by GUZMAN
LOPEZ where drugs and firearms were stored, GUZMAN LOPEZ sent narcotics,
including bulk quantities of fentanyl to the U.S.-Mexico border, for importation into
the United States.

To protect and further the Sinaloa Cartel’s fentanyl trafficking operation,
GUZMAN LOPEZ and his associates regularly used machineguns and perpetrated
violence against law enforcement officials, civilians, and rival drug traffickers. For
example, on or about January 5, 2028, members of the Sinaloa Cartel engaged in a
shootout, using AK-47s and other military-grade weapons, with Mexican law
enforcement authorities in an attempt to prevent GUZMAN LOPEZ’s arrest, which
resulted in the deaths of dozens of individuals.

In addition to overseeing and directly participating in the Sinaloa Cartel’s
drug-trafficking operation, including fentanyl, GUZMAN LOPEZ oversaw the
collection of the Sinaloa Cartel’s proceeds from the sale of narcotics, including
fentanyl, in the United States. After the fentanyl and other drugs were sold in the

United States, money launderers working for GUZMAN LOPEZ were responsible for

15
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 16 of 36 PagelD #:12071

ensuring that any drug proceeds generated in the United States were ultimately
received by GUZMAN LOPEZ and other members of the Sinaloa Cartel in Mexico.
The money launderers had different ways of getting the U.S. drug proceeds to
GUZMAN LOPEZ and to other members of his organization in Mexico. For example,
individuals working with and for GUZMAN LOPEZ laundered money from the
United States to Mexico using bulk cash transport, wire transfers, trade of goods, and
cryptocurrency. On multiple occasions, launderers working for GUZMAN LOPEZ
sent each other a photograph of a U.S. dollar bill with a unique serial number, which
served as proof of ownership of the money being laundered out of the United States
and into Mexico and allowed the launderers to then retrieve in Mexico the same
amount of money that had been delivered to GUZMAN LOPEZ’s launderers in the
United States.
d. With Respect to Count Two of the SDNY Indictment

From at least in or about 2014, up to and including on or about January 25,
2028, in the Southern District of New York, Mexico, and elsewhere, and in an offense
begun and committed out of the jurisdiction of any particular State or district,
OVIDIO GUZMAN LOPEZ, a/k/a “Raton,” and others known and unknown,
knowingly and intentionally combined, conspired, confederated, and agreed together
and with each other to (i) import into the United States and into the customs territory
of the United States from a place outside thereof, Gi) manufacture, distribute, and

possess with intent to distribute, intending, knowing, and having reasonable cause

16
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 17 of 36 PagelD #:12072

to believe that such substance would be unlawfully imported into the United States
and into waters within a distance of 12 miles of the coast of the United States, and
(iii) manufacture, distribute, and possess with intent to distribute on board an
aircraft registered in the United States, 400 grams and more of mixtures and
substances containing a detectable amount of fentanyl, in violation of Title 21, United
States Code, Section 963.

More specifically, and as set forth above in Paragraph 8(c), the factual
statements of which are incorporated into GUZMAN LOPEZ’s guilty plea to Count
Two of the SDNY Indictment, GUZMAN LOPEZ oversaw and directly participated in
the Sinaloa Cartel’s drug-trafficking operation, including involving fentanyl, which,
among other things described in Paragraph 8(c), manufactured, distributed, and
possessed with the intent to distribute, thousands of kilograms of fentanyl, which
were intended to, and were, imported from Mexico to the United States.

9. The foregoing facts are set forth solely to assist the Court in determining
whether a factual basis exists for defendant’s plea of guilty and criminal forfeiture,
and are not intended to be a complete or comprehensive statement of all the facts
within defendant’s personal knowledge regarding the charged crimes and related
conduct.

Maximum Statutory Penalties

10. Defendant understands that the charges to which he is pleading guilty

carry the following statutory penalties:

17
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 18 of 36 PagelD #:12073

a. As to each of Count One of the Twelfth Superseding Indictment
* and Count Two of the SDNY Indictment: A maximum sentence of life imprisonment
and a statutory mandatory minimum sentence of 10 years. Pursuant to Title 18,
United States Code, Section 3561, defendant may not be sentenced to a term of
probation on this count. Each count also carries a maximum fine of $10,000,000.
Defendant further understands that with respect to each count the judge also must
impose a term of supervised release of at least five years, and up to any number of
years, including life.

b. As to each of Count Two of the Twelfth Superseding Indictment
and Count One of the SDNY Indictment: A mandatory sentence of life imprisonment.
Each count also carries a maximum fine of $2,000,000. Defendant further
understands that on each count the judge also may impose a term of supervised
release of not more than five years.

c. Pursuant to Title 18, United States Code, Section 3013, defendant
will be assessed a $100 special assessment on each of the charges to which he has
pled guilty, in addition to any other penalty imposed.

Sentencing Guidelines Calculations
11. Defendant understands that, in determining a sentence, the Court is
obligated to calculate the applicable Sentencing Guidelines range, and to consider
that range, possible departures under the Sentencing Guidelines, and other

sentencing factors under 18 U.S.C. § 35538(a), which include: (i) the nature and

18
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 19 of 36 PageID #:12074

circumstances of the offense and the history and characteristics of the defendant; (ii)
the need for the sentence imposed to reflect the seriousness of the offense, promote
respect for the law, provide just punishment for the offense, afford adequate
deterrence to criminal conduct, protect the public from further crimes of the
defendant, and provide the defendant with needed educational or vocational training,
medical care, or other correctional treatment in the most effective manner; (iii) the
kinds of sentences available; (iv) the need to avoid unwarranted sentence disparities
among defendants with similar records who have been found guilty of similar
conduct; and (v) the need to provide restitution to any victim of the offense.

12. For purposes of calculating the Sentencing Guidelines in this matter,
the parties agree on the following points:

a. Applicable Guidelines. The Sentencing Guidelines to be
considered in this case are those in effect at the time of sentencing. The following
statements regarding the calculation of the Sentencing Guidelines are based on the
Guidelines Manual currently in effect, namely the 2024 Guidelines Manual.

b. Offense Level Calculations.

1. The base offense level is 52, pursuant to Guideline

§ 2D1.5(a)(1), because the offense level from Guideline § 2D1.1 applicable to the
underlying offense is 48, as follows:

1. The base offense level is 38, pursuant to

§ 2D1.1(a)(5) and (c)(1), because the offense of conviction and relevant conduct for

19
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 20 of 36 PagelD #:12075

which defendant is accountable involved more than 86 kilograms of fentanyl, 90
kilograms of heroin, 450 kilograms of cocaine, 45 kilograms of methamphetamine,
and 90,000 kilograms of marijuana.

2. The offense level is increased by two levels, pursuant
to Guideline § 2D1.1(b)(1), because a dangerous weapon, including a firearm, was
possessed.

3. The offense level is increased by two levels, pursuant
to Guideline § 2D1.1(b){2), because defendant used violence, made a credible threat
to use violence, and directed the use of violence.

4, The offense level is increased by two levels, pursuant
to Guideline § 2D1.1(b)(5), because the offense involved the importation of
methamphetamine and defendant is not subject to an adjustment under § 3B1.2.

5. The offense level is increased by two levels,
pursuant to Guideline § 2D1.1(b)(11), because defendant bribed a law enforcement
officer to facilitate the commission of the offense.

6. The offense level is increased by two levels, pursuant
to Guideline § 2D1.1(b)(12), because defendant maintained a premises for the
purpose of manufacturing or distributing a controlled substance.

il. Defendant has clearly demonstrated a recognition and
affirmative acceptance of personal responsibility for his criminal conduct. If the

government does not receive additional evidence in conflict with this provision, and

20
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 21 of 36 PagelD #:12076

if defendant continues to accept responsibility for his actions within the meaning of
Guideline § 3E1.1(a), including by furnishing the government and the Probation
Office with all requested financial information relevant to his ability to satisfy any
fine that may be imposed in this case, a two-level reduction in the offense level is
appropriate.

iii. In accord with Guideline § 3E1.1(b), defendant has timely
notified the government of his intention to enter a plea of guilty, thereby permitting
the government to avoid preparing for trial and permitting the Court to allocate its
resources efficiently. Therefore, as provided by Guideline § 3E1.1(b), if the Court
determines the offense level to be 16 or greater prior to determining that defendant
is entitled to a two-level reduction for acceptance of responsibility, the government
will move for an additional one-level reduction in the offense level.

iv. Pursuant to Guidelines Chapter 5, Part A, Application
Note 2, an offense level of more than 48 is to be treated as an offense level of 43.

c. Criminal History Category. With regard to determining
defendant’s criminal history points and criminal history category, based on the facts
now known to the government, defendant has no criminal history points and
defendant’s criminal history category is I.

d. Anticipated Advisory Sentencing Guidelines Range.
Therefore, based on the facts now known to the government, the anticipated offense

level, is 48 which, when combined with the anticipated criminal history category of I,

21
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 22 of 36 PagelD #:12077

results in an anticipated advisory sentencing guidelines sentence of life
imprisonment, in addition to any supervised release and fine the Court may impose.
Defendant also acknowledges that he is subject to a statutory mandatory minimum
sentence of life imprisonment as well as a mandatory minimum sentence of ten years’
imprisonment.

e. Defendant and his attorney and the government acknowledge
that the above guidelines calculations are preliminary in nature, and are non-binding
calculations upon which neither party is entitled to rely. Defendant understands that
further review of the facts or applicable legal principles may lead the government to
conclude that different or additional guidelines provisions apply in this case.
Defendant understands that the Probation Office will conduct its own investigation
and that the Court ultimately determines the facts and law relevant to sentencing,
and that the Court’s determinations govern the final guideline calculation.
Accordingly, the validity of this Agreement is not contingent upon the probation
officer’s or the Court’s concurrence with the above calculations, and defendant shall
not have a right to withdraw his plea on the basis of the Court’s rejection of these
calculations.

f. Both parties expressly acknowledge that this Agreement is not
governed by Fed. R. Crim. P. 11({c)(1)(B), and that errors in applying or interpreting
any of the sentencing guidelines may be corrected by either party prior to sentencing.

The parties may correct these errors either by stipulation or by a statement to the

22
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 23 of 36 PagelD #:12078

Probation Office or the Court, setting forth the disagreement regarding the applicable
provisions of the guidelines. The validity of this Agreement will not be affected by
such corrections, and defendant shall not have a right to withdraw his plea, nor the
government the right to vacate this Agreement, on the basis of such corrections.
Cooperation

13. Defendant agrees he will fully and truthfully cooperate in any matter in
which he is called upon to cooperate by a representative of the United States
Attorney’s Office for the Northern District. of Illinois, the United States Attorney’s
Office for the Southern District of California, the United States Attorney’s Office for
the Southern District of New York, and the United States Department of Justice
Narcotic and Dangerous Drug Section (collectively, the “Offices”). This cooperation
shall include providing complete and truthful information in any investigation and
pre-trial preparation and complete and truthful testimony in any criminal, civil, or
administrative proceeding.

14. Defendant agrees to the postponement of his sentencing.

Agreements Relating to Sentencing

15. At the time of sentencing, the government shall make known to the
sentencing judge the extent of defendant’s cooperation. If the government determines
that defendant has continued to provide full and truthful cooperation as required by
this Agreement, then the government shall (1) move the Court, pursuant to 18 U.S.C.

§ 3553(e), to depart downward from the mandatory minimum sentence on Count Two

23
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 24 of 36 PagelD #:12079

of the Twelfth Superseding Indictment and Count One of the SDNY Indictment, and
(2) move the Court, pursuant to Guideline § 5K1.1, to depart downward from the
Guideline sentence. The government shall not make a motion pursuant to 18 U.S.C.
§ 3553(e) as to Count One of the Twelfth Superseding Indictment and Count Two of
the SDNY Indictment, so in no case will defendant’s sentence be less than the 10-
year mandatory minimum sentence on these counts. Defendant understands that the
decision to depart from the applicable guideline sentence and, in the case of Count
Two of the Twelfth Superseding Indictment and Count One of the SDNY Indictment,
the mandatory minimum sentence of life imprisonment, rests solely with the Court.
Defendant further understands that the government reserves the right to make
whatever recommendation it deems appropriate regarding the extent of any
downward departure.

16. If the government does not move the Court, pursuant to Guideline
§ 5K1.1 and—as to Count Two of the Twelfth Superseding Indictment and Count One
of the SDNY Indictment—18 U.S.C. § 3553¢(e), to depart from the applicable guideline
sentence, as set forth above, paragraphs 13 and 14 of this Agreement will be
inoperative, both parties shall be free to recommend any sentence, and the Court
shall impose a sentence taking into consideration the factors set forth in 18 U.S.C.
§ 3553(a) as well as the Sentencing Guidelines, and the statutory minimum sentence

of life imprisonment without any downward departure for cooperation pursuant to

24
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 25 of 36 PagelD #:12080

§ 5K1.1. Defendant may not withdraw his plea of guilty because the government has
failed to make a motion pursuant to Guideline § 5K1.1 or 18 U.S.C. § 3553¢e).

17. It is understood by the parties that the sentencing judge is neither a
party to nor bound by this Agreement and may impose a sentence up to the maximum
penalties as set forth above. Defendant further acknowledges that if the Court does
not accept the sentencing recommendation of the parties, defendant will have no right
to withdraw his guilty plea.

18. Defendant agrees to pay the special assessment of $400 at the time of
sentencing with a cashier’s check or money order payable to the Clerk of the U.S.
District Court.

19. After sentence has been imposed on the counts to which defendant
pleads guilty as agreed herein, (1) the government will move to dismiss the remaining
counts of the Twelfth Superseding Indictment and the SDNY Indictment as to
defendant, and (2) the government will dismiss the indictment as to defendant in 18
CR 81 in the United States District Court for the District of Columbia.

Forfeiture

20. Defendant understands that, by pleading guilty, he will subject to
forfeiture to the United States all right, title, and interest that he has in any property
constituting or derived from proceeds obtained, directly or indirectly, as a result of

the offenses.

25
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 26 of 36 PagelD #:12081

21. Defendant agrees to the entry of a personal money judgment in the
amount of $80,000,000, which represents proceeds traceable to the offenses.
Defendant consents to the immediate entry of a preliminary order of forfeiture setting
forth the amount of the personal money judgment he will be ordered to pay.

22. Defendant admits that because the directly forfeitable property is no
longer available for forfeiture as described in Title 21, United States Code, Section
853(p)(1), the United States is entitled to seek forfeiture of any other property of
defendant, up to the value of the personal money judgment, as substitute assets
pursuant to Title 21, United States Code, Section 853(p)(2).

23. Defendant understands that forfeiture shall not be treated as
satisfaction of any fine, cost of imprisonment, or any other penalty the Court may
impose upon defendant in addition to the forfeiture judgment.

24. Defendant agrees to waive all constitutional, statutory, and equitable
challenges in any manner, including but not limited to direct appeal or a motion
brought under Title 28, United States Code, Section 2255, to any forfeiture carried
out in accordance with this agreement on any grounds, including that the forfeiture
constitutes an excessive fine or punishment. The waiver in this paragraph does not

apply to a claim of involuntariness or ineffective assistance of counsel.

26
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 27 of 36 PagelD #:12082

Acknowledgments and Waivers Regarding Plea of Guilty

Nature of Agreement

25. This Agreement is entirely voluntary and represents the entire
agreement between the Offices and defendant regarding defendant’s criminal
liability in case 09 CR 383-22.

26. This Agreement concerns criminal liability only. Except as expressly set
forth in this Agreement, nothing herein shall constitute a limitation, waiver, or
release by the United States or any of its agencies of any administrative or judicial
civil claim, demand, or cause of action it may have against defendant or any other
person or entity. The obligations of this Agreement are limited to the Offices and
cannot bind any other federal, state, or local prosecuting, administrative, or
regulatory authorities, except as expressly set forth in this Agreement.

Waiver of Rights

27. Defendant understands that, by pleading guilty, he surrenders certain
rights, including the following:

a. Trial rights. Defendant has the right to persist in a plea of not
guilty to the charges against him, and if he does, he would have the right to a public
and speedy trial.

1. The trial could be either a jury trial or a trial by the judge

sitting without a jury. However, in order that the trial be conducted by the judge

27
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 28 of 36 PagelD #:12083

sitting without a jury, defendant, the government, and the judge all must agree that
the trial be conducted by the judge without a jury.

li, If the trial is a jury trial, the jury would be composed of
twelve citizens from the district, selected at random. Defendant and his attorney
would participate in choosing the jury by requesting that the Court remove
prospective jurors for cause where actual bias or other disqualification is shown, or
by removing prospective jurors without cause by exercising peremptory challenges.

iii. If the trial is a jury trial, the jury would be instructed that
defendant is presumed innocent, that the government has the burden of proving
defendant guilty beyond a reasonable doubt, and that the jury could not convict him
unless, after hearing all the evidence, it was persuaded of his guilt beyond a
reasonable doubt and that it was to consider each count of the Twelfth Superseding
Indictment and SDNY Indictment separately. The jury would have to agree
unanimously as to each count before it could return a verdict of guilty or not guilty
as to that count.

iv. If the trial is held by the judge without a jury, the judge
would find the facts and determine, after hearing all the evidence, and considering
each count separately, whether or not the judge was persuaded that the government
had established defendant’s guilt beyond a reasonable doubt.

Vv. At a trial, whether by a jury or a judge, the government

would be required to present its witnesses and other evidence against defendant.

28
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 29 of 36 PagelD #:12084

Defendant would be able to confront those government witnesses and his attorney
would be able to cross-examine them.

V1. At a trial, defendant could present witnesses and other
evidence in his own behalf. If the witnesses for defendant would not appear
voluntarily, he could require their attendance through the subpoena power of the
Court. A defendant is not required to present any evidence.

vil. At a trial, defendant would have a privilege against self-
incrimination so that he could decline to testify, and no inference of guilt could be
drawn from his refusal to testify. If defendant desired to do so, he could testify in his
own behalf.

b. Waiver of appellate and collateral rights. Defendant further
understands he is waiving all appellate issues that might have been available if he
had exercised his right to trial. Defendant is aware that Title 28, United States Code,
Section 1291, and Title 18, United States Code, Section 3742, afford a defendant the
right to appeal his conviction and the sentence imposed. Acknowledging this, if the
government makes a motion at sentencing for a downward departure pursuant to
Guideline § 5K1.1 and 18 U.S.C. § 3553(e), as detailed in paragraph 15, defendant
knowingly waives the right to appeal his conviction, any pre-trial rulings by the
Court, and any part of the sentence (or the manner in which that sentence was
determined), including any term of imprisonment and fine within the maximums

provided by law, and including any order of forfeiture, in exchange for the concessions

29
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 30 of 36 PagelD #:12085

made by the United States in this Agreement. In addition, if the government makes
a motion at sentencing for a downward departure pursuant to Guideline § 5K1.1,
defendant also waives his right to challenge his conviction and sentence, and the
manner in which the sentence was determined, in any collateral attack or future
challenge, including but not limited to a motion brought under Title 28, United States
Code, Section 2255. The waiver in this paragraph does not apply to a claim of
involuntariness or ineffective assistance of counsel, nor does it prohibit defendant
from seeking a reduction of sentence based directly on a change in the law that is
applicable to defendant and that, prior to the filing of defendant’s request for relief,
has been expressly made retroactive by an Act of Congress, the Supreme Court, or
the United States Sentencing Commission.

28. Defendant understands that, by pleading guilty, he is waiving all the
rights set forth in the prior paragraphs. Defendant’s attorney has explained those
rights to him, and the consequences of his waiver of those rights.

Waiver of Conflict

29. With regard to any possible conflict of representation, and in addition to
the colloquy conducted by the Court with defendant on October 21, 2024, defendant
understands the following:

a. Jeffrey Lichtman represents Joaquin Guzman Loera, Joaquin
Guzman Lopez, Ivan Guzman Salazar, Jesus Alfredo Guzman Salazar, and Jose

Angel Canobbio Inzunza (“the Other Clients”). Lichtman has a duty of loyalty to the

30
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 31 of 36 PagelD #:12086

Other Clients and cannot use any information he obtained from the Other Clients
while representing defendant in this matter.

b. In every criminal case, including this one, the defendant is
entitled to the assistance of counsel whose loyalty to the defendant is undivided, and
who is not subject to any force or consideration that might in any way intrude upon
the attorney’s loyalty to his client’s interests.

c. Lichtman is required by his duty of loyalty to serve the best
interests of the Other Clients as well as defendant’s best interests.

d. Lichtman cannot advise or help defendant in doing anything that
would hurt the Other Clients, even if it is in defendant’s best interest to do so.

e. Lichtman cannot help defendant in providing assistance to the
Government that might hurt the Other Clients, even if it turns out that doing so
might be in defendant’s best interest.

f. Lichtman may have to refrain from making certain arguments
even though such arguments may be beneficial to defendant, because of his
representation of the Other Clients.

g. Defendant has had the opportunity to speak with Lichtman about
the conflict-of-interest issues that arise because of his representation of the Other

Clients.

31
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 32 of 36 PagelD #:12087

h. Defendant has the right to consult with a lawyer other than
Lichtman to help determine whether defendant wishes Lichtman to represent them
in this case.

30. Understanding the above, defendant agrees to continue to be
represented by Lichtman, and defendant knowingly and voluntarily waives any
potential conflict caused by Lichtman’s simultaneous representation of the Other
Clients.

Presentence Investigation Report/Post-Sentence Supervision

31. Defendant understands that the government in its submission to the
Probation Office as part of the Pre-Sentence Report and at sentencing shall fully
apprise the District Court and the Probation Office of the nature, scope, and extent
of defendant’s conduct regarding the charges against him, and related matters. The
government will make known all matters in aggravation and mitigation relevant to
sentencing, including the nature and extent of defendant’s cooperation.

32. Defendant agrees to truthfully and completely execute a Financial
Statement (with supporting documentation) prior to sentencing, to be provided to and
shared among the Court, the Probation Office, and the government regarding all
details of his financial circumstances, including his recent income tax returns as
specified by the probation officer. Defendant understands that providing false or
incomplete information, or refusing to provide this information, may be used as a

basis for denial of a reduction for acceptance of responsibility pursuant to Guideline

32
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 33 of 36 PagelD #:12088

§ 3E1.1 and enhancement of his sentence for obstruction of justice under Guideline
§ 3C1.1, and may be prosecuted as a violation of Title 18, United States Code, Section
1001 or as a contempt of the Court.

33. For the purpose of monitoring defendant’s compliance with his
obligations to pay a fine during any term of supervised release to which defendant is
sentenced, defendant further consents to the disclosure by the IRS to the Probation
Office and the government of defendant’s individual income tax returns (together
with extensions, correspondence, and other tax information) filed subsequent to
defendant’s sentencing, to and including the final year of any period of supervised
release to which defendant is sentenced. Defendant also agrees that a certified copy
of this Agreement shall be sufficient evidence of defendant’s request to the IRS to
disclose the returns and return information, as provided for in Title 26, United States
Code, Section 6103(b).

Other Terms

34. Defendant agrees to cooperate with the government in collecting any
ordered fine for which defendant is liable, including providing financial statements
and supporting records as requested by the government.

35. Defendant recognizes that pleading guilty may have consequences with
respect to his immigration status if he is not a citizen of the United States. Under
federal law, a broad range of crimes are removable offenses, including the offenses to

which defendant is pleading guilty. Indeed, because defendant is pleading guilty to

33
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 34 of 36 PagelD #:12089

an offense that is an “aggravated felony” as that term is defined in Title 8, United
States Code, Section 1101(a)(43), removal is presumptively mandatory. Removal and
other immigration consequences are the subject of a separate proceeding, however,
and defendant understands that no one, including his attorney or the Court, can
predict to a certainty the effect of his conviction on his immigration status. Defendant
nevertheless affirms that he wants to plead guilty regardless of any immigration
consequences that his guilty plea may entail, even if the consequence is his automatic
removal from the United States.
Conclusion

36. Defendant understands that this Agreement will be filed with the Court,
will become a matter of public record, and may be disclosed to any person.

37. Defendant understands that his compliance with each part of this
Agreement extends throughout the period of his sentence, and failure to abide by any
term of the Agreement is a violation of the Agreement. Defendant further
understands that in the event he violates this Agreement, the government, at its
option, may move to vacate the Agreement, rendering it null and void, and thereafter
prosecute defendant not subject to any of the limits set forth in this Agreement, or
may move to resentence defendant or require defendant’s specific performance of this
Agreement. Defendant further understands that in the event he violates this
Agreement and is found in breach of this Agreement, he will not be permitted to

withdraw his guilty pleas. Defendant understands and agrees that in the event that

34
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 35 of 36 PagelD #:12090

the Court permits defendant to withdraw from this Agreement, or defendant breaches
any of its terms and the government elects to void the Agreement and prosecute
defendant, any prosecutions that are not time-barred by the applicable statute of
limitations on the date of the signing of this Agreement may be commenced against
defendant in accordance with this paragraph, notwithstanding the expiration of the
statute of limitations between the signing of this Agreement and the commencement
of such prosecutions.

38. Should the judge refuse to accept defendant’s plea of guilty, this
Agreement shall become null and void and neither party will be bound to it.

39. Defendant and his attorney acknowledge that no threats, promises, or
representations have been made, nor agreements reached, other than those set forth

in this Agreement, to cause defendant to plead guilty.

35
Case: 1:09-cr-00383 Document #: 1078 Filed: 07/11/25 Page 36 of 36 PagelD #:12091

40. Defendant acknowledges that he has read this Agreement and carefully
reviewed each provision with his attorney. Defendant further acknowledges that he
understands and voluntarily accepts each and every term and condition of this

Agreement.

AGREED THIS DATE: 7 / 7 | Z 5

BAS SE | Qvidio uamdin L.

ANDREW S. BOUTROS OVIDIO GUZMAN-LOPEZ
United States Attorney Defendant
Northern District of Ilinois

AateAtta, {fof
ADAM GORDON JEFFREY LICHTMAN
United States Attorney Attorney for Defendant

Southern District of California

/)
aij ( i,

MARLON COBAR ANDREW C. ERSKINE /
Chief MICHELLE J. PARTHUM
Narcotic and Dangerous Drug Section Assistant U.S. Attorneys
Criminal Division

U.S, Department of Justice

36
